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Attorneys for Plaintiffs Phoenix House Foundation, Inc.,
Phoenix Houses of California, Inc., Phoenix Houses of
Los Angeles, Inc., Phoenix House Orange County, Inc.,

and Phoenix House San Diego, Inc.
UNITED STATES DISTRICT COURT
FOR THE CENTRAL DISTRICT OF CALIFORNIA
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INC., PHOENIX HOUSES OF
CALIFORNIA, INC., PHOENIX COMPLAINT FOR INJUNCTIVE
HOUSES OF LOS ANGELES, INC., AND DECLARATORY RELIEF
PHOENIX HOUSE ORANGE COUNTY,
INC., PHOENIX HOUSE SAN DIEGO,
INC.,
[DEMAND FOR JURY TRIAL]
Plaintiffs,
Vv.

TIMOTHY K. FROST DBA PHOENIX
HOUSES,

Defendant.

 

 

COMPLAINT FOR INJUNCTIVE & DECLARATORY
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Plaintiffs Phoenix House Foundation, Inc., Phoenix Houses of California, Inc.,
Phoenix Houses of Los Angeles, Inc., Phoenix House Orange County, Inc., and
Phoenix House San Diego, Inc. (the “Phoenix House Plaintiffs”), by and through their
attorneys of record, alleges:

NATURE OF THE ACTION |

1. For more than forty years, the Plaintiff Phoenix House Foundation, Inc.,
its predecessors, or affiliates, have built a reputation for operating effective, high-
quality substance abuse treatment programs and facilities, including residences, around
the country. Within the last few years, Defendant Timothy K. Frost DBA Phoenix
Houses Property Management (“Defendant Phoenix Houses”), has opened purported
substance abuse-related facilities in the Los Angeles area under the name “Phoenix
Houses” and has sought to capitalize on the Phoenix House Plaintiffs’ goodwill and
strong reputation.

2. As set forth below, Defendant Phoenix Houses’ confusingly similar name
has caused actual confusion among law enforcement officials and consumers. Despite
a cease and desist letter from the Phoenix House Plaintiffs, Defendant Phoenix Houses
continues to use the name “Phoenix Houses.” Unless this Court enters an injunction,
Defendant Phoenix Houses will continue to use an infringing name that confuses the
public and harms the Phoenix House Plaintiffs.

PARTIES

3. Plaintiff Phoenix House Foundation, Inc. is a New York not-for-profit
corporation with its principal place of business at 164 W. 74th Street, New York, New
York 10023.

4, Plaintiff Phoenix Houses of California, Inc., a subsidiary of Plaintiff
Phoenix House Foundation, Inc., is a California not-for-profit corporation with its
principal place of business at 11600 Eldridge Avenue, Lake View Terrace, California
91342.

 

COMPLAINT FOR INJUNCTIVE & DECLARATORY 13431800.3
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5. Plaintiff Phoenix Houses of Los Angeles, Inc., a subsidiary of Plaintiff
Phoenix Houses of California, Inc., is a California non-for-profit corporation with its
principal place of business at 11600 Eldridge Avenue, Lake View Terrace, California
91342, |

6. Plaintiff Phoenix House Orange County, Inc., a subsidiary of Plaintiff
Phoenix Houses of California, Inc., is a California not-for-profit corporation with its
principal place of business at 1207 East Fruit Street, Santa Ana, California 92701.

7. Plaintiff Phoenix House San Diego, Inc., a subsidiary of Plaintiff Phoenix
Houses of California, Inc., is a California not-for-profit corporation with its principal
place of business at 23981 Sherilton Valley Road, Descanso, California 91916.

8. Collectively, the Phoenix House Plaintiffs are known to the mental health
care industry and the public at large as “PHOENIX HOUSE.” (A true and correct
copy of the main page of Phoenix House Plaintiffs’ website (www.phoenixhouse.org)
is attached as Exhibit A.)

9. Upon information and belief, Defendant Timothy K. Frost DBA Phoenix
Houses Property Management (“Defendant Frost” or “Defendant Phoenix Houses”) is
a citizen of the State of California whose last known address is 4951 Fulton Avenue,
Sherman Oaks, California 91423-2004.

10. Upon information and belief, Defendant Phoenix Houses operates
facilities at 5466 Winnetka Boulevard, Woodland Hills, California 91367 and at 14006
Morrison Street, Sherman Oaks, CA 91423. (A true and correct copy of Defendant
Phoenix Houses’ fax coversheet, dated November 25, 2010, is attached as Exhibit B.)
Defendant Phoenix Houses has advertised four additional facilities in Sherman Oaks,
California (Phoenix House I), North Hills, California (Phoenix House II), and
Northridge, California (Phoenix Houses III and IV). (A true and correct copy of the
www.soberhousing.net webpage, dated May 19, 2010, is attached as Exhibit C.)

 

 

COMPLAINT FOR INJUNCTIVE & DECLARATORY 134318003
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JURISDICTION AND VENUE

11. This action arises under the trademark and unfair competition laws of the
United States and the laws of the State of California. It is brought pursuant to Section
32(1) of the Lanham Act, 15 U.S.C. § 1114(1); Section 43(a) of the Lanham Act, 15
U.S.C. § 1125(a)-(c); Sections 17200 and 17203 of the California Business &
Professional Code; and the common law.

12. This Court has subject matter over the Phoenix House Plaintiffs’ claims
for trademark infringement and unfair competition pursuant to 15 U.S.C. § 1121 and
28 U.S.C. §§ 1331 and 1338(a) because these claims arise under the Lanham Act, as
amended, 15 U.S.C. § 1051, et seg. This Court has subject matter jurisdiction over the
Phoenix House Plaintiffs’ related state law and common law claims pursuant to 28
US.C. §§ 1338(b) and 1367.

13. This Court has personal jurisdiction over Defendant Phoenix Houses
because, upon information and belief, Defendant Phoenix Houses resides in this
District, routinely conducts, solicits, advertises, and/or transacts business within this
District, and has committed, and is committing, infringing acts within this District.

14. Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b) because,
upon information and belief, Defendant Phoenix Houses resides in this District and
because a substantial part of the events giving rise to the claim occurred in this
District.

FACTS COMMON TO ALL CLAIMS FOR RELIEF
Plaintiffs’ Trademark Rights And Strong Reputation

15. One or more of the Phoenix House Plaintiffs has provided substance
abuse treatment and prevention services under the name Phoenix House since 1967.

16. Recognizing the long-term nature of recovery, the Phoenix House

Plaintiffs offer substance abuse services across a continuum of care, including

 

COMPLAINT FOR INJUNCTIVE & DECLARATORY 13431800.3
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prevention, early intervention, residential treatment, sober living, continuing care,
outpatient support, and recovery support.

17. Plaintiff Phoenix House Foundation, Inc. operates more than 120
residential and outpatient programs in eleven states, including California. The Phoenix
House Plaintiffs have provided services in California since 1979.

18. The Phoenix House Plaintiffs operate eighteen programs throughout
California, including in Los Angeles (Venice and Lake View Terrace) and Whittier,
Santa Ana, Santa Fe Springs, San Diego, and Carlsbad, through which more than 1,000
adults and teenagers receive treatment each day.

19. The Phoenix House Plaintiffs have been recognized by the Federal
Government’s Substance Abuse and Mental Health Services Administration’s _
(“SAMHSA”) National Registry of Evidence-Based Programs and Practices
(“NREPP”). A webpage describing the Phoenix House Academy, a program located at
11600 Eldridge Avenue, Lake View Terrace, California and designed for adolescents
ages 13-17 with substance abuse and other co-occurring mental health and behavioral
disorders, can be found on SAMHSA’s website. (A true and correct copy of the
webpage is attached as Exhibit D.)

20. The Phoenix House Plaintiffs have been recognized by newspapers and
magazines around the world, including: The New York Times, The Los Angeles
Times, USA Today, The Washington Post, The Sunday Mail (UK), Newsweek, Good
Housekeeping, and The New Yorker. The Phoenix House Plaintiffs have been
featured in highly-regarding television programs, including: The Oprah Winfrey Show,
60 Minutes, Dateline NBC, NBC’s The Today Show, ABC’s Good Morning America,
and Fox News. The Phoenix House Plaintiffs are recognized leaders in the substance
abuse treatment realm and have been highlighted in the following industry
publications: Inside Addiction Magazine, Health News Digest, Alcoholism Drug
Abuse Weekly, Health Executive Magazine, and Behavioral Health Magazine.

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COMPLAINT FOR INJUNCTIVE & DECLARATORY 1343 1800.3
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21. Since 1967, the Phoenix House Plaintiffs have used, and continue to use,
PHOENIX HOUSE as a service mark for their substance abuse treatment and
prevention services. The Phoenix House Plaintiffs were the first to adopt and use
PHOENIX HOUSE in connection with such services.

22. Plaintiff Phoenix House Foundation, Inc. is the owner of the PHOENIX
HOUSE service mark. Plaintiff Phoenix House Foundation, Inc. owns U.S. Trademark
Registration No. 997702 (“the ’702 Registration”) for the mark PHOENIX HOUSE for
“treatment and rehabilitation of drug addicts,” which issued on November 5, 1974.

The ’702 Registration is valid, subsisting, unrevoked, uncancelled, and incontestable.
(A true and correct copy of the ’702 Registration is attached as Exhibit E.) |

23. Plaintiff Phoenix House F oundation, Inc. owns U.S. Trademark

Registration No. 3820277 (“the ’277 Registration”) for the mark PHOENIX HOUSE,

which issued on July 20, 2010, for the following services:

Class 35: Promoting public awareness on the subjects of treatment and
prevention of addiction, addictive behavior, and substance abuse;

Class 41: Educational services, namely, conducting programs in the fields of
treatment and prevention of addiction, addictive behavior, and
substance abuse; educational services, namely, arranging and
providing courses of instruction at the high school level; vocational
education in the fields of building maintenance, carpentry,
cosmetology, counseling in substance abuse prevention and
treatment, culinary arts, and office management; and

Class 44: Substance abuse treatment services; counseling and treatment
services in the fields of addiction, addictive behavior, and
behavioral health; medical clinics; dental clinics

The ’277 Registration is valid, subsisting, unrevoked, and uncancelled. (A true
and correct copy of the ’277 Registration is attached as Exhibit F.)
24. The Phoenix House Plaintiffs have incurred substantial advertising and

promotional expenses relating to its PHOENIX HOUSE brand.

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COMPLAINT FOR INJUNCTIVE & DECLARATORY 13431800.3
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25. The mark, PHOENIX HOUSE, as used by the Phoenix House Plaintiffs,
is inherently distinctive. PHOENIX HOUSE has been used in interstate commerce
extensively and continuously by the Phoenix House Plaintiffs for more than forty years
as an indication of source for its substance abuse treatment and prevention services.

26. Asaresult of the Phoenix House Plaintiffs’ extensive use and promotion
of the mark PHOENIX HOUSE, the Phoenix House Plaintiffs have built a valuable
reputation and substantial goodwill that is symbolized by this mark. Patients,
prospective patients, and their families, as well as members of the medical community,
law enforcement community, and judicial system, have come to associate PHOENIX

HOUSE with the Phoenix House Plaintiffs and their substance abuse and treatment

 

services in Los Angeles County, California, and throughout the United States.
Defendant Phoenix Houses’ Infringing And Unlawful Activities

27. Inearly May 2010, the Phoenix House Plaintiffs learned that Defendant
Phoenix Houses was operating in the San Fernando Valley, near one of the Phoenix
House Plaintiffs’ facilities. Upon information and belief, Defendant Phoenix Houses
operates several half-way houses, purporting to provide sober living counseling.

28. On May 13, 2010, the Phoenix House Plaintiffs learned that Defendant
Phoenix House is run by Defendant Timothy K. Frost. Defendant Frost refers to
himself as “Director Phoenix Houses.” (A true and correct copy of Defendant Frost’s
business card is attached as Exhibit G.)

29. Defendant Frost’s business card and fax cover sheet reference “Phoenix
Houses Residential Recovery Program.” (See Exhibits B and G.) This name is
different from “Phoenix Houses Property Management,” Defendant Frost’s DBA.

30. Upon information and belief, Defendant Frost uses the e-mail address
“timfphoenixhouses@yahoo.com” in connection with the operation of his PHOENIX
HOUSES program. (See Exhibit G.) According to his business card, Defendant Frost

 

COMPLAINT FOR INJUNCTIVE & DECLARATORY 13431800.3
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describes Defendant Phoenix Houses as “a residential sober living program.” (See
Exhibit G.) |

31. Defendant Phoenix Houses has advertised that it has four facilities
(Phoenix House I, Phoenix House II, Phoenix House III, and Phoenix House IV) on
www.soberhousing.net a listing of sober living facilities in Southern California. (See
Exhibit C.)

The Phoenix House Plaintiffs Take Action To Protect Mark

32. Recognizing that use of the Phoenix House Plaintiffs’ distinctive mark
PHOENIX HOUSE in connection with substance abuse treatment programs was an
unlawful trademark violation that could cause actual confusion, the Phoenix House
Plaintiffs’ attorneys sent a cease and desist letter to Defendant Phoenix Houses. (A
true and correct copy of this letter is attached as Exhibit H.) The letter noted that the
Phoenix House Plaintiffs’ have owned the U.S. Trademark Registration for the mark
“PHOENIX HOUSE” since 1974. The letter requested that Defendant Phoenix
Houses “immediately and permanently cease and desist all use of ‘Phoenix House,”
including on or in connection with any substance-abuse treatment or recovery facility.”

33. Defendant Phoenix Houses did not respond to the letter. Defendant
Phoenix Houses did, however, remove its contact information from
www.soberhousing.net, a listing of sober living facilities. (A true and correct copy of
the webpage, dated July 6, 2010, is attached as Exhibit I.) The Phoenix House
Plaintiffs concluded from this action that Defendant Phoenix Houses intended to
comply with the requests made in the cease and desist letter.

Actual Confusion

34. Upon information and belief, Defendant Phoenix Houses has been

presenting, and continues to present, itself to jails and detention facilities, including

those operated by the Los Angeles County Sheriff’s Department, to pick up individuals

 

 

 

COMPLAINT FOR INJUNCTIVE & DECLARATORY 13431800.3
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who have been ordered by local courts to participate in substance abuse treatment
programs. (See Exhibit B.)

35. On December 1, 2010, Plaintiff Phoenix House of California, Inc.
received three calls from law enforcement agencies (the Los Angeles County Jail and
the Whittier Sheriff's Department) regarding Defendant Phoenix Houses. In the calls,
the law enforcement officers and personnel noted that Defendant Phoenix Houses was
retrieving inmates recently ordered to undergo treatment for substance abuse. The law
enforcement officers and personnel noted that Defendant Phoenix Houses’ facility had
the “same name” as the Phoenix House Plaintiffs’ facilities and expressed concern that
Defendant Frost “may be defrauding the court system.”

36. On the same day, Geoff Henderson, Director of Adult Services, at
Plaintiff Phoenix Houses of California, Inc., contacted Defendant Frost by telephone to
discuss the actual confusion identified by the law enforcement officials. Defendant
Frost responded that although the Phoenix House Plaintiffs’ legal representatives had
contacted him about a year ago regarding his use of the Phoenix House Plaintiffs’
PHOENIX HOUSE mark, his attorney had advised him that he could continue to use
the mark. |

37. Defendant Frost informed Mr. Henderson that he (Defendant Frost) had
filed a DBA (“doing business as”) four years ago with the name “Phoenix House.”
Defendant Frost also informed Mr. Henderson that Defendants do not have any state
certificates or licenses to operate residential substance abuse treatment and recovery
programs.

38. © Defendant Frost informed Mr. Henderson that he (Defendant Frost) had
received telephone calls for the Phoenix House Plaintiffs from courts and the general
public.

39. Finally, Mr. Henderson and Defendant Frost discussed the “mounting
problems” that Defendants’ use of the Phoenix House Plaintiffs’ PHOENIX HOUSE

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COMPLAINT FOR INJUNCTIVE & DECLARATORY 13431800.3
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mark was causing. Defendant Frost informed Mr. Henderson that he (Defendant Frost)
does not intend to stop using the name “Phoenix House” until a court tells him to do
so.

40. On the same day, Bruce Tobman, Program Director of the Phoenix House
Plaintiffs’ facility in Venice, California, received a call from Officer Olives at the
Twin Towers Correctional Facility in Los Angeles. Officer Olives informed Mr.
Tobman that the corrections facility had released inmates to Defendant Phoenix
Houses and he (Officer Olives) was calling to see if the inmates had arrived at
Plaintiffs’ Venice Facility. The Phoenix House Plaintiffs believe that Officer Olives
released the inmates to Defendant Phoenix Houses under the mistaken impression that
Defendant Phoenix Houses was the Phoenix House Plaintiffs.

41. On February 28, 2011, Winifred Wechsler, Executive Director of Plaintiff
Phoenix Houses of California, Inc., received an e-mail from the grandmother of a
patient in Defendant Phoenix Houses’ program. The woman’s granddaughter left
Defendant Phoenix Houses’ program after one week and her grandmother was
attempting to obtain a refund for a check paid to Defendant Frost. Apparently
believing Defendant Phoenix Houses to be connected to the Phoenix House Plaintiffs,
the grandmother sent an e-mail to Plaintiffs, seeking a refund and expressing concern
for her granddaughter’s treatment.

42. On April 13, 2011, Christopher Sharpe, Deputy Public Defender in Santa
Clarita, California, communicated with Mr. Tobman regarding Defendant Frost and his
use of the Phoenix House Plaintiffs’ PHOENIX HOUSE mark. Mr. Sharpe asked Mr.
Tobman for a letter confirming that Defendants are not part of the Phoenix House

Plaintiffs’ organization.

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COMPLAINT FOR INJUNCTIVE & DECLARATORY 13431800.3
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Defendants’ Use Of The Phoenix House Plaintiffs’ Mark PHOENIX HOUSE Harms
Plaintiffs And The Los Angeles Community

43. Defendant Phoenix Houses is using the Phoenix House Plaintiffs’ mark
PHOENIX HOUSE without the Phoenix House Plaintiffs’ permission, approval, or
authorization, and has continued to do so despite the Phoenix House Plaintiffs’
objections and requests for Defendant Phoenix Houses to cease use the Phoenix House
Plaintiffs’ PHOENIX HOUSE mark.

44, Defendant Phoenix Houses’ use of the Phoenix House Plaintiffs’
PHOENIX HOUSE mark has confused consumers and caused Los Angeles area
enforcement officials and consumers seeking information regarding relatives receiving
treatment to believe incorrectly that Defendant Phoenix Houses is somehow associated
with, affiliated with, or sponsored by, the Phoenix House Plaintiffs.

45. Defendant Phoenix Houses’ use of the Phoenix House Plaintiffs’
PHOENIX HOUSE mark has resulted in actual consumer confusion in the marketplace
as to the source, affiliation, and/or sponsorship of Defendant Phoenix Houses’
services, particularly within the law enforcement community and judicial system in
Los Angeles County, California.

46. “Phoenix Houses,” as used by Defendant Phoenix Houses, is nearly
identical to the Phoenix House Plaintiffs’ federally registered mark PHOENIX
HOUSE.

47. The services Defendant Phoenix Houses purports to provide under the
PHOENIX HOUSE name — residential sober living program services — are similar to
those provided by the Phoenix House Plaintiffs under their PHOENLX HOUSE mark
to the extent that each party’s services are provided to individuals in need of services

resulting from their abuse of substances.

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COMPLAINT FOR INJUNCTIVE & DECLARATORY 13431800.3
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48. The Phoenix House Plaintiffs and Defendant Phoenix Houses provide
their respective services in the same or overlapping geographic territories within
Southern California and, more specifically, in Los Angeles County.

49. Mistaken association of Defendant Phoenix Houses with the Phoenix
House Plaintiffs irreparably harms the Phoenix House Plaintiffs’ reputation and good
standing in the community and the public.

50. Unless Defendant Phoenix Houses’ use of the Phoenix House Plaintiffs’
PHOENIX HOUSE mark is stopped, Defendant Phoenix Houses will continue to cause
irreparable harm to the Phoenix House Plaintiffs and the public.

FIRST CLAIM FOR RELIEF
FEDERAL TRADEMARK INFRINGEMENT
(15 U.S.C. § 1114(1))

51. The Phoenix House Plaintiffs repeat and incorporate by reference the
allegations contained in paragraphs 1 through 50 above as if set forth herein.

52. Defendant Phoenix Houses’ use of the Phoenix House Plaintiffs’
PHOENIX HOUSE mark in connection with residential sober living home program
services in the State of California is likely to cause confusion, or to cause mistake, or
to deceive as to the affiliation, connection, association, origin, sponsorship, or approval
of Defendant Phoenix Houses’ services or commercial activities by the Phoenix House
Plaintiffs.

53. Defendant Phoenix Houses has used, and continues to use, the Phoenix
House Plaintiffs’ PHOENIX HOUSE mark in violation of Section 32(1) of the
Lanham Act, 15 U.S.C. § 1114(1), and Defendant Phoenix Houses’ activities has
caused and, unless enjoined by this Court, will continue to cause a likelihood of
confusion and public deception in the marketplace, and serious and substantial injury

to the Phoenix House Plaintiffs’ business, goodwill, and reputation as symbolized by

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COMPLAINT FOR INJUNCTIVE & DECLARATORY 1343 1800.3
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their federally registered PHOENIX HOUSE mark, for which the Phoenix House
Plaintiffs have no adequate remedy at law.

54. Defendant Phoenix Houses’ actions demonstrate a deliberate and willful
intent to trade on the goodwill associated with the Phoenix House Plaintiffs’ federally
registered mark, PHOENIX HOUSE, thereby causing immediate, substantial, and
irreparable injury to the Phoenix House Plaintiffs.

55. As the direct and proximate result of Defendant Phoenix Houses’ actions,
Defendant Phoenix Houses has caused, and is likely to continue causing, substantial
injury to the public and to the Phoenix House Plaintiffs, and the Phoenix House
Plaintiffs are entitled to injunctive relief, and to recover Defendant Phoenix Houses’
profits, actual damages, enhanced damages, and reasonable attorneys’ fees and costs,
pursuant to 15 U.S.C. §§ 1116 and 1117.

SECOND CLAIM FOR RELIEF
FEDERAL UNFAIR COMPETITION
(15 U.S.C. § 1125(a)(1)(A))

56. The Phoenix House Plaintiffs repeat and incorporate by reference the
allegations contained in paragraphs 1! through 55 above as if set forth herein.

57. Defendant Phoenix Houses’ use of the Phoenix House Plaintiffs’ mark
PHOENIX HOUSE in connection with residential sober living home program services
in the State of California is likely to cause confusion, or to cause mistake, or to deceive
as to the affiliation, connection, association, origin, sponsorship, or approval of
Defendant Phoenix Houses’ services or commercial activities by the Phoenix House
Plaintiffs.

58. Defendants have used, and continue to use, the Phoenix House Plaintiffs’
mark PHOENIX HOUSE in violation of Section 43(a) of the Lanham Act, 15 U.S.C. §
1125(a), and Defendant Phoenix Houses’ activities has caused and, unless enjoined by

this Court, will continue to cause a likelihood of confusion and public deception in the

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COMPLAINT FOR INJUNCTIVE & DECLARATORY . 1343 1800.3
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marketplace, and serious and substantial injury to the Phoenix House Plaintiffs’
business, goodwill, and reputation as symbolized by its federally registered PHOENIX
HOUSE mark, for which the Phoenix House Plaintiffs have no adequate remedy at
law.

59. Defendant Phoenix Houses’ actions demonstrate a deliberate and willful

‘intent to trade on the goodwill associated with the Phoenix House Plaintiffs’ federally

registered mark, PHOENIX HOUSE, thereby causing immediate, substantial, and
irreparable injury to the Phoenix House Plaintiffs.

60. As the direct and proximate result of Defendant Phoenix Houses’ actions,
Defendant Phoenix Houses has caused, and is likely to continue causing, substantial
injury to the public and to the Phoenix House Plaintiffs, and the Phoenix House
Plaintiffs are entitled to injunctive relief, and to recover Defendant Phoenix Houses’
profits, actual damages, enhanced damages, and reasonable attorneys’ fees and costs,
pursuant to 15 U.S.C. §§ 1116, 1117, and 1125.

THIRD CLAIM FOR RELIEF
FALSE ADVERTISING UNDER THE LANHAM ACT
(15 U.S.C. § 1125(a)(1)(B))

61. The Phoenix House Plaintiffs repeat and incorporate by reference the
allegations contained in paragraphs | through 60 above as if set forth herein.

62. Defendant Phoenix Houses’ misleading use of the Phoenix House
Plaintiffs’ mark PHOENIX HOUSE mark constitutes false advertising, false
designation of origin, and false representation, in and affecting interstate commerce in
violation of Section 43(a)(1)(B) of the Lanham Act, 15 U.S.C. §1125(a)(1)(B).

63. As the direct and proximate result of Defendant Phoenix Houses’ actions,
Defendant Phoenix Houses has caused, and is likely to continue causing, substantial
injury to the public and to the Phoenix House Plaintiffs, and the Phoenix House

Plaintiffs are entitled to injunctive relief, and to recover Defendant Phoenix Houses’

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COMPLAINT FOR INJUNCTIVE & DECLARATORY 13431800.3
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profits, actual damages, enhanced damages, and reasonable attorneys’ fees and costs,
pursuant to 15 U.S.C. §§ 1116, 1117, and 1125.
FOURTH CLAIM FOR RELIEF
DILUTION UNDER THE LANHAM ACT
(15 U.S.C. § 1125(c))

64. The Phoenix House Plaintiffs repeat and incorporate by reference the
allegations contained in paragraphs 1 through 63 above as if set forth herein.

65. Asa direct result of the Phoenix House Plaintiffs’ long and extensive
experience, care, and skill in producing, performing, marketing and advertising its
services and facilities under and in association with the Phoenix House Plaintiffs’
PHOENIX HOUSE mark, the Phoenix House Plaintiffs’ have acquired a reputation for
excellence. In addition the Phoenix House Plaintiffs have expended significant sums
in advertising and promotion to help create and maintain its reputation as symbolized
by the PHOENIX HOUSE mark. The PHOENIX HOUSE mark is both locally,
nationally, and internationally famous.

66. Defendant Phoenix Houses, by wrongfully using the Phoenix House
Plaintiffs’ PHOENIX HOUSE mark as described above, has tarnished, blurred, and
diluted the Phoenix House Plaintiffs’ reputation, goodwill, and trademark in local and
interstate commerce.

67. Defendant Phoenix Houses’ acts are likely to deprive the Phoenix House
Plaintiffs of the benefits of the goodwill attached to the Phoenix House Plaintiffs’
PHOENIX HOUSE mark, injure the Phoenix House Plaintiffs’ business reputation and
dilute the distinctive quality of its famous PHOENIX HOUSE mark in violation of 15
U.S.C. § 1125(c).

68. Upon information and belief, such acts of the Defendant Phoenix Houses
described above were done willfully and wantonly, with an intent to trade on the

Phoenix House Plaintiffs’ reputation, to suggest a connection and to cause confusion.

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COMPLAINT FOR INJUNCTIVE & DECLARATORY 13431800.3
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69. As a proximate result of Defendant Phoenix Houses’ acts as alleged
herein, the Phoenix House Plaintiffs have suffered and will continue to suffer damages
to their business, goodwill, and reputation.

70. The Phoenix House Plaintiffs have no adequate remedy at law against this
dilution and injury to their business reputation. Unless Defendant Phoenix Houses is
enjoined by this Court, the Phoenix House Plaintiffs will continue to suffer irreparable
harm.

FIFTH CLAIM FOR RELIEF
UNFAIR COMPETITION
(Cal. Bus. & Prof. Code §§ 17200 and 17203)

71. The Phoenix House Plaintiffs repeat and incorporate by reference the
allegations contained in paragraphs | through 70 above as if set forth herein.

72. Defendant Phoenix Houses’ use of the Phoenix House Plaintiffs’
PHOENIX HOUSE mark in connection with residential sober living home program
services in the State of California is likely to cause confusion, or to cause mistake, or
to deceive as to the affiliation, connection, association, origin, sponsorship, or approval
of Defendant Phoenix Houses’ services or commercial activities by the Phoenix House
Plaintiffs.

73. Defendant Phoenix Houses’ activities in the conduct of trade constitute
unfair competition in violation of Sections 17200 and 17203 of the California Business
& Professional Code.

74. Defendant Phoenix Houses’ use of the Phoenix House Plaintiffs’
PHOENIX HOUSE mark and related activities have caused and, unless enjoined by
this Court, will continue to cause a likelihood of confusion and public deception in the
marketplace, and serious and substantial injury to the Phoenix House Plaintiffs’

business, goodwill, and reputation as symbolized by its federally registered PHOENIX

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COMPLAINT FOR INJUNCTIVE & DECLARATORY 134318003
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HOUSE mark, for which the Phoenix House Plaintiffs have no adequate remedy at
law.

75. Defendant Phoenix Houses has engaged in the actions alleged herein with
the intent to deceive the public, to take advantage of the extensive investment by the
Phoenix House Plaintiffs in their PHOENIX HOUSE name and mark, and to
misappropriate the substantial goodwill associated with such mark.

76. Defendant Phoenix Houses’ actions have been willful and knowing.

77. Asa direct and proximate result of Defendant Phoenix Houses’ actions,
Defendant Phoenix Houses has caused, and is likely to continue causing, serious and
substantial injury to the Phoenix House Plaintiffs, citizens of California, and the
public.

SIXTH CLAIM FOR RELIEF
UNFAIR COMPETITION
(Common Law)

78. The Phoenix House Plaintiffs repeats and incorporates by reference the
allegations contained in paragraphs 1 through 77 above as if set forth herein.

79. Defendant Phoenix Houses’ use of the Phoenix House Plaintiffs’
PHOENIX HOUSE mark in connection with residential sober living home program
services in the State of California is likely to cause confusion, or to cause mistake, or
to deceive as to the affiliation, connection, association, origin, sponsorship, or approval
of Defendant Phoenix Houses’ services or commercial activities by the Phoenix House
Plaintiffs.

80. Defendant Phoenix Houses’ activities in the conduct of trade constitute
trademark infringement, unfair competition, and false advertising, in violation on the
common law of the State of California.

81. Defendant Phoenix Houses’ use of the Phoenix House Plaintiffs’

PHOENIX HOUSE mark and related activities has caused and, unless enjoined by this

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COMPLAINT FOR INJUNCTIVE & DECLARATORY 13431800.3
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Court, will continue to cause a likelihood of confusion and public deception in the
marketplace, and serious and substantial injury to the Phoenix House Plaintiffs’
business, goodwill, and reputation as symbolized by its federally registered PHOENIX
HOUSE mark, for which the Phoenix House Plaintiffs have no adequate remedy at
law. |

82. Defendant Phoenix Houses has engaged in the actions alleged herein with
the intent to deceive the public, to take advantage of the extensive investment by the
Phoenix House Plaintiffs in its PHOENIX HOUSE name and mark, and to
misappropriate the substantial goodwill associated with such mark.

83. Defendant Phoenix Houses’ actions have been willful and knowing.

84. Asadirect and proximate result of Defendant Phoenix Houses’ actions,
Defendant Phoenix Houses has caused, and is likely to continue causing, serious and
substantial injury to the Phoenix House Plaintiffs.

JURY TRIAL DEMANDED

The Phoenix House Plaintiffs demand a jury trial in this matter pursuant to Rule

38 of the Federal Rules of Civil Procedure.
DEMAND FOR RELIEF
WHEREFORE, the Phoenix House Plaintiffs pray for a judgment in their favor

and against Defendant Phoenix Houses as follows:

1. For a temporary, preliminary, and permanent injunction against Defendant
Phoenix Houses and all persons acting in concert with Defendant Phoenix Houses or
purporting to act on behalf of Defendant Phoenix Houses, or in active concert or in
participation with Defendant Phoenix Houses, including, but not limited to, Defendant
Phoenix Houses’ agents, servants, employees, successors, assigns, and attorneys,
enjoining and restraining them from infringing the Phoenix House Plaintiffs’ service

mark, from diluting the distinctive quality of the Phoenix House Plaintiffs’ service

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COMPLAINT FOR INJUNCTIVE & DECLARATORY 13431800.3
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mark, and from unfairly competing with the Phoenix House Plaintiffs in any manner
whatsoever, and specifically from:

(a) using PHOENIX HOUSE, PHOENIX HOUSES, or PHOENIX in any
fashion in connection with substance abuse services or residential sober living
programs services;

(b) performing any acts that are likely to lead consumers to believe that
Defendant Phoenix Houses is affiliated or associated with, or sponsored by, the
Phoenix House Plaintiffs; and

(c) committing any other act that infringes the Phoenix House Plaintiffs’
service mark or constitutes unfair competition against the Phoenix House Plaintiffs.

> For an Order that Defendant Phoenix Houses file with the Court and serve
on the Phoenix House Plaintiffs’ counsel within thirty (30) days after service of any
preliminary injunction or final injunction issued herein, or within such reasonable time
as the Court may direct, a report in writing and under oath, setting forth in detail the
manner and form in which Defendant Phoenix Houses has complied with such
injunction.

3. For all damages the Phoenix House Plaintiffs have suffered by reason of
Defendant Phoenix Houses’ unlawful activities.

4. | For all profits wrongfully derived by Defendant Phoenix Houses through
its unlawful activities.

5. For three times Defendant Phoenix Houses’ profits or the Phoenix House
Plaintiffs’ damages, whichever is greater, arising from Defendant Phoenix Houses’
unlawful activities pursuant to 15 U.S.C. § 1117(a) and (b).

6. For punitive damages to the fullest extent permitted by law and equity,
and as required in the interests of justice.

7. For prejudgment and post-judgment interest, pursuant to 15 U.S.C.

§ 1117(b) and other applicable law.

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COMPLAINT FOR INJUNCTIVE & DECLARATORY 13431800.3
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8. For a determination that this case be deemed to be an “exceptional” case
and/or that Defendant Phoenix Houses acted in “bad faith” and awarding costs of suit
and reasonable attorney fees and disbursements, pursuant to 15 U.S.C. § 1 117(b) and
other applicable law; and

9. For such other and further relief as this Court deems just and equitable.

DATED: April 25, 2011 Respectfully submitted,
NIXON PEABODY LLP

a
By; ALS WYW

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sandré@nixonpeabody.com

Thaddeus J. Stauber (Bar. No. 225518)
tstauber@nixonpeabody.com

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Kristen M. Walsh (pro hac vice application to be filed)
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Rochester, NY, 14604

Telephone: 585-263-1533

Fax: 866-947-1323

Attorneys for Plaintiffs Phoenix House Foundation, Inc.,
Phoenix Houses of California, Inc., Phoenix Houses of
Los Angeles, Inc., Phoenix House Orange County, Inc.,
and Phoenix House San Diego, Inc.

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COMPLAINT FOR INJUNCTIVE & DECLARATORY 13431800.3
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EXHIBIT A
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Case 2:11-cv-03530-PSG-

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PHOENIX HOUSES

RESIDENTIAL RECOVERY PROGRAM

6446 WINNETKA BIVD. WOODLAND HILLS, CA 9367 (818) 999 - 9654
14006 MORRISON ST. SHERMAN OAKS, CA 91421 (O18) ASH -~ 2660
A.LR. APPROVED __(AssessMENT.. INTERVENTION. ... RESOURCES)
DATE: NOVEMBER 125, 2010 DRIVER: TIMOTHY K. FROST 1D6C23900204
. WILL BE PICKING UP COULTER,
ATT: TECE/GENNETTE : CARLIE BRREES26730)
LYNNWOGD BETENTION CENTER
RE: COULTER, CARLIE. BK/ICS¥Y 25267 6/PASCTERR

THIS LETTER I8 TO CONFIRM THAT PHRRP IS PICKING UP JASON TAYLOR BK #2343218.
ON A COURT ORDER BY JUDGE FREIXES, GRACIELA. SANTA CLARITA COURTRGESE DEPT 1.
IF YOU BAVE ANY QUESTION PLEASE CALL:

CELL PHONE: (562) 310 — 1184
OFFICE: (918) 802 - 0334

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EXHIBIT C
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Find Sober Housing In Your SoCal Community Search By Area

 

The Sober Living Network

San Fernando Valley

 

 

 

 

 

 

 

City Sober Living Home Contact Phone Serves Cost
_ Calabasas Seasons Sober Living Larry Norman (818) 692-4296 coed $4500
| Canoga Park Comfort Zone Ike Eichar (818) 894-8617 coed $840
Canoga Park —PiScovery House I Sober Tony D. (818) 903-6441 men $550
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New Beginnings Sober
Canoga Park Living Gary Sutter (818) 620-5624 men $600
! Canoga Park Second Chance Sober Living Alan Nathen (818) 961-6155 men $500
Canyon .

Country Bridges Eleanor Boutte (661) 252-0569 women $765
Chatsworth Stone Sober Society Linda Perez (818) 772-6888 coed $500
Chatsworth A Work In Progress Liz Leon (818) 633-1719 women $700
2 Encino Angel Villa Georgia Frabotta (877) 768-9673 coed $3500

Encino Casa Nuevo Vida David Marvin (310) 592-0139 = men $2750

Encino Mulholland Recovery SL Christine Franz (818) 917-3438 coed $1000
Encino Petit House Sober Living Tyrone Adair (818) 800-7009 men $1500
Encino Sunrise Ul Carmen Risiglione (818) 968-6669 coed $550

Glendale Geneva House Michael Akopov (323) 481-5455 men $600
| Glendale New Visions Sober Living Janelle Jones (818) 247-8493 coed $520
Granada Hills Clear View Sober Living ! George Turner (818) 451-6968 men $500
Granada Hills Clear View Sober Living II George Turner (818) 451-6968 men $500 |
Granada Hills New Horizon Sober Living Iraj Salehyar (818) 360-8574 men $600

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Serenity Retreat
Arminta House
Arminta House Il
The Discovery House
Elijah’s House
Fresh Start
Jamieson House

On Solid Ground

Reseda Villa Sober Living

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Claude Eichar

Kelly Hagerman
Georgia F., Priscilla
Georgia Frabotta
Main Office

Mary Grayson
John Hakopyan

Fred Foster
Charotte

Lisa Richards

  

Timothy Frost
Timothy Frost

Cindy Green
Linda Ruzich

Ryan Valencia
Lisa Richards
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Ruth's House Sober Living
Second Chance Sober Living

Second Chance Sober Living
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Spencer House

Sunrise II

Contact

Anthony
Kim Robbins
Al Pittman-J. McClure
Chris Krug -

Tim Fest

Doug Eggleton

Chery! Petway

Sun Valley Alpha & Omega Sober Living Rima Abelian, Samuel Tan

Rima Abelian, Samuel Tan

Lisa & Joel Moss
Mark Gregoire
Robert Holbrook
Audy Harman
Matthew
Mark Gregoire
David Casey
Mary Grayson
Carmen Risiglione
Joey Axelson

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Bia Sarro
Mary Grayson
Ike Eichar
Tamar Goldberg
John Hakopyan

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Ruben Calderon

Carmen Risiglione

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City Sober Living Home Contact Phone Serves Cost
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Van Nuys Sylvan House Martin Suran (818) 749-6282 coed $525

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Westlake The Lake House Stuart Birnbaum (877) 762-3707 coed $3500
Winnetka Kelvin House Lisa Richards (818) 996-1051 men $425

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Winnetka -, Gina Romero (818) 915-0548 women $500 |
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| Winnetka Quartz House Lisa Richards (800) 996-1051 men $425.
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Woodland Hills Sober College — Friar Robert Pfeifer (818) 274-0304 men $2000
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Woodland Hills Sober College — Oxnard Robert Pfeifer (818) 274-0304 men $2000
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EXHIBIT D
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Int. Cl.: 42

Prior U.S. CL: 100

. Reg. No. 997,702
United States Patent Office Registered Nov. 5, 1974

 

SERVICE MARK
Principal Register

PHOENIX HOUSE

Phoenix House Foundation, Inc. (New York not-for-profit For: TREATMENT AND REHABILITATION OF
corporation) DRUG ADDICTS, in CLASS 100 (INT. CL. 42).
164 W. 74th St.” First use Nov. 7, 1967; in commerce Dec. 18, 1967.
New York, N.Y. 10023
Ser. No. 457,241, filed May 11, 1973.

Exhibit & Page 2\_
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Int. Ci: 42
Prior U.S, C1: 100
. , Reg. No. 997,702
United States Patent and Trademark Office Registered Nov, 5, 1974
10 Year Renewal Renewal Term Begins Nov, 5, 1994
SERVICE MARK
PRINCIPAL REGISTER
PHOENIX HOUSE
PHOENIX HOUSE FOUNDATION, INC. FOR: TREATMENT AND REHABILI-
(NEW YORK NOT-FOR-PROFIT COR- TATION OF DRUG. ADDICTS, IN
PORATION), CLASS 100 (INT. CL, 42).
164 W. 74TH ST. FIRST USE H-7-1967; IN COMMERCE
NEW YORK, NY 10023 12-18-1967,

SER. NO. 72-457,241, FILED 3-11-1973.

In testimony whereof I have hereunto set my hand
and caused the seal of The Patent and Trademark
Office to be affixed on June 13, 1995.

COMMISSIONER OF PATENTS AND TRADEMARKS

 

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PHOENIX HOUSE

Reg. No. 3,820,277 PHOENIX HOUSE FOUNDATION, INC. (NEW YORK NOT-FOR-PROFIT CORPORATION)
164 W. 74TH STREET
Registered July 20, 2010 New york, NY 10023

Int. Cls.: 35, 41 and 44 FoR: PROMOTING PUBLIC AWARENESS ON THE SUBJECTS OF TREATMENT AND
PREVENTION OF ADDICTION, ADDICTIVE BEHAVIOR, AND SUBSTANCE ABUSE | IN
CLASS 35 (U.S. CLS. 100, 101 AND 102).

SERVICE MARK

PRINCIPAL REGISTER

FIRST USE 0-0-1967, IN COMMERCE 0-0-1967.

FOR: EDUCATIONAL SERVICES, NAMELY, CONDUCTING PROGRAMS IN THE FIELDS
OF TREATMENT AND PREVENTION OF ADDICTION, ADDICTIVE BEHAVIOR, AND
SUBSTANCE ABUSE; EDUCATIONAL SERVICES, NAMELY, ARRANGING AND
PROVIDING COURSES OF INSTRUCTION AT THE HIGH SCHOOL LEVEL; VOCATIONAL
EDUCATION IN THE FIFLDS OF BUILDING MAINTENANCE, CARPENTRY, COSMETO-
LOGY, COUNSELING IN SUBSTANCE ABUSE PREVENTION AND TREATMENT.
CULINARY ARTS, AND OFFICE MANAGEMENT, IN CLASS 4] (U.S. CLS. 100, 101 AND
107).

FIRST USE 0-0-1967, IN COMMERCE 0-0-1967.

FOR: SUBSTANCE ABUSE TREATMENT SERVICES, COUNSELING AND TREATMENT
SERVICES IN THE FIELDS OF ADDICTION, ADDICTIVE BEHAVIOR, AND BEHAVIORAL
HEALTH, MEDICAL CLINICS, DENTAL CLINICS, IN CLASS 44 (U.S. CLS. 100 AND 101).

FIRST USE 0-0-1967, IN COMMERCE 0-0-1967.

THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO ANY PAR-
TICULAR FONT, STYLE, SIZE, OR COLOR.

OWNER OF US. REG. NO. 997,702.

NO CLAIM IS MADE TO THE EXCLUSIVE RIGHT TO USE "HOUSE’, APART FROM THE
MARK AS SHOWN.

SER. NO. 77-707,329, FILED 4-6-2009.

MARY BOAGNI, EXAMINING ATTORNEY

 

Director of the United Stutcs Pusent and ‘Trudeusrk Office

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RISE FROM THE ASHES WITH PHOENIX
office (818) 802-0334

call (562) 330-1184

TIMOTH K FROST tox (818) 5B2-7849
DIRECTOR PHOENIX HOUSES coalition member

 

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Case 2:11-cv-03530-PSG-AGR Document1 Filed 04/25/11 Page 42 of 56 Page ID #:59

EXHIBIT H
 

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ATTORNEYS AT LAW

4300 Clinton Square
Rochester, New York 14604-1792
(585) 263-1000
Fax: (585) 263-1600

Kristen M. Walsh, Counsel
Direct Dial: (585) 263-1065
E-Mail: kwalsh@nixonpeabody.com

June 16, 2010

VIA FAX & E-MAIL (timfphoeixhouses@yahoo.com)

Mr. Timoth K. Frost
Director, Phoenix Houses

RE: Unauthorized Use of the Registered Trademark “Phoenix House”

Dear Mr. Frost:

We represent Phoenix House Foundation, Inc. (“Phoenix House”). Phoenix House has
provided alcohol and drug abuse treatment and prevention services under the “Phoenix House”
name and trademark since 1967. Phoenix House is the largest such facility in the nation, and
operates over 150 residential and outpatient programs throughout ten states, including in
California. Additional information about Phoenix House and its programs and services can be
found on the website, www.phoenixhouse.org. Phoenix House owns U.S. Trademark
Registration 997702 for the mark PHOENIX HOUSE for use in connection with “treatment and
rehabilitation of drug addicts.” The registration issued in 1974, has been timely renewed, and is
in full force and effect.

Phoenix House has learned that you are operating a residential sober living program in
the San Fernando Valley under the name “Phoenix House,” and that you are listing four
residential homes through The Sober Living Network under the names “Phoenix House I,”
“Phoenix House II,” “Phoenix House III,” and “Phoenix House IV.” Your unauthorized use of
the federally registered trademark “Phoenix House” constitutes trademark infringement, false
designation of origin, and unfair competition under the Lanham Act, and violates various state
law unfair competition provisions.

We request that you immediately and permanently cease and desist all use of “Phoenix
House,” including on or in connection with any substance-abuse treatment or recovery facility,
including residential homes for sober living; that you remove “Phoenix House” from your
business or program name; and that you complete, execute, and return to me the enclosed
Declaration.

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Timeth K. Frost
June 16, 2010
Page 2

Please contact me by June 28, 2010 to confirm that you are complying with Phoenix
House’s requests. While we hope to resolve this matter quickly and amicably, Phoenix House
reserves all rights to seek appropriate legal relief, including attorney fees, costs, and enhanced

damages.
Very truly yours,
Kristen M. Walsh
Enclosure

ce: John J. Diehl, Esq.
Phoenix House Foundation, Inc.

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NixGN PEABODY LLP

Exhibit \t Page 3
 

DECLARATION

1. I am the Director of the Phoenix Houses residential sober living program (the
“Program”), which operates of four sober residential homes in the San Fernando Valley. I make
this declaration on behalf of myself and the Program. . .

2. I and the Program have permanently ceased all use of “Phoenix House,” including
on or in connection with any substance-abuse treatment or recovery facility, including residential
homes for sober living; in The Sober Living Network directory; and in all advertisements or
promotional materials.

3. I and the Program have changed the names of the four sober residential homes we
operate in the San Fernando Valley to the following, effective ___» 2010:
(a) , formerly Phoenix House I;
(b) , formerly Phoenix House II;
(c) , formerly Phoenix House III; and
(d) , formerly Phoenix House [V

Pursuant to 28 U.S.C. § 1746, I declare under the penalty of perjury that the foregoing is
true and correct.

Executed on June , 2010

 

Timoth K. Frost
Director

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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

NOTICE OF ASSIGNMENT TO UNITED STATES MAGISTRATE JUDGE FOR DISCOVERY

This case has been assigned to District Judge Philip S. Gutierrez and the assigned
discovery Magistrate Judge is Alicia G. Rosenberg.

The case number on all documents filed with the Court should read as follows:

CV11- 3530 PSG (AGRx)

Pursuant to General Order 05-07 of the United States District Court for the Central

District of California, the Magistrate Judge has been designated to hear discovery related
motions.

All discovery related motions should be noticed on the calendar of the Magistrate Judge

NOTICE TO COUNSEL

A copy of this notice must be served with the summons and complaint on all defendants (if a removal action is
filed, a copy of this notice must be served on ail plaintiffs).

Subsequent documents must be filed at the following location:

[X] Western Division LJ Southern Division Eastern Division
312 N. Spring St., Rm. G-8 411 West Fourth St., Rm. 1-053 3470 Twelfth St., Rm. 134
Los Angeles, CA 90012 Santa Ana, CA 92701-4516 Riverside, CA 92501

Failure to file at the proper location will result in your documents being returned to you.

 

CV-18 (03/06) NOTICE OF ASSIGNMENT TO UNITED STATES MAGISTRATE JUDGE FOR DISCOVERY
Case 2:11-cv-03530-PSG-AGR Document 1 Filed 04/25/11 Page 54o0f56 Page ID#:71
Sarah E. André (Bar No. 236145)

Nixon Peabody LLP

555 W. Fifth Street, 46" Floor
Los Angeles, CA 90013

Tel: (213) 629-6000

Fax: (213) 6129-6001

 

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

PHOENIX HOUSE FOUNDATION, INC., PHOENIX
HOUSES OF CALIFORNIA, INC., PHOENIX
HOUSES OF LOS ANGELES, INC., PHOENIX
HOUSE ORANGE COUNTY, and PHOENIX HOUSE

SAN DIEGO. INC., mLaINmiFRy cy 1 1 0 Z 5 3 0 PSG (AGRY)

 

CASE NUMBER

 

TIMOTHY K. FROST dba PHOENIX HOUSES, SUMMONS
DEFENDANT(S).

 

 

TO:DEFENDANT(S): TIMOTHY K. FROST dba PHOENIX HOUSES
A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it), you
must serve on the plaintiff an answer to the attached [x] complaint [_] amended complaint
[_] counterclaim [_] cross-claim or a motion under Rule 12 of the Federal Rules of Civil Procedure. The answer
or motion must be served on the plaintiffs attorney, Sarah E. André, whose address is 555_W. Fifth Street 46"
Floor, Los Angeles, CA 90013. If you fail to do so, judgment by default will be entered against you for the
relief demanded in the complaint. You also must file your answer or motion with the court.

 

Clerk, U.S. District Court

Dated: April 25, 2011 By: CHRISTOPHER POWERS
Deputy Clerk

 

 

(Seal of the Court)

[Use 60 days if the defendant is the United States or a United States agency, or is an officer or employee of the United States. Allowed
60 days by Rule 12(a)(3)].

 

 

CV-01A (12/07) SUMMONS American LegalNet, Inc.

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Case 2:11-cv-BSESBBSERER TB

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{ (a) PLAINTIFFS (Check box if you are representing yourself CO)
Phoenix House Foundation, Inc., Phoenix Houses of California,
Inc., Phoenix Houses of Los Angeles, Inc., Phoenix House
Orange County, Inc., and Phoenix House San Diego, Inc.

 

DEFENDANTS
Timothy K. Frost dba Phoenix Houses

 

(b) Attorneys (Firm Name, Address and Telephone Number. If you are representing

yourself, provide same.)

Sarah E. André (Bar 236145)

Nixon Peabody LLP

555 W. Fifth Street, 46" Floor
Los Angeles, CA 90013
Tel: 213-629-6000/Fax: 213-629-6001

 

Attorneys (If Known)

 

Il. BASIS OF JURISDICTION

(1 US. Government Plaintiff

(] 2 US. Government Defendant

(Place an X in one box only.)

[XJ 3 Federal Question (U.S.
Government Not a Party

(J 4 Diversity (Indicate Citizenship

of Parties in Item 111)

IV. ORIGIN (Place an X in one box only.)

 

Citizen of This State

Citizen of Another State

IW. CITIZENSHIP OF PRINCIPAL PARTIES - For Diversity Cases Only
(Place an X in one box for plaintiff and one for defendant.)

PTF DEF PTF DEF

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CO 2 O 2 Incorporated and Principal Place DO 5 DO 5

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of Business in Another State

Foreign Nation —

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GX) 1 Original (] 2 Removed from []3 Remanded from: [J 4 Reinstated or (] 5 Transferred from another district (specify) (] 6 Multi- [7 Appeal to District
Proceeding State Court Appellate Court Reopened District Judge from
Litigation Magistrate Judge

 

V. REQUESTED IN COMPLAINT: JURY DEMAND: [X] Yes [J No (Check ‘Yes' only if demanded in complaint.)

CLASS ACTION under F.R.C.P. 23: (_] Yes 4 No

(LJ MONEY DEMANDED IN COMPLAINT: $

 

 

VI. CAUSE OF ACTION (Cite the U. S. Civil Statute under which you are filing and write a brief statement of cause. Do not cite jurisdictional statutes unless diversity.)
Request for injunctive and declaratory relief under Lanham Act (15 U.S.C. § 1125, et seq.).

 

Yui. NATURE OF SUIT (Place a

an X in one box only.)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

OTHER STATUTES CONTRACT TORTS. LABOR
(C1) 400 State Reapportionment CO 110 Insurance P ERSONAL INJURY NAD _] 710 Fair Labor Standards
([] 410 Antitrust [_] 120 Marine’ (_] 310 Airplane PROPERTY _ an] 510 Motions to Vacate Act
CO 430 Banks and Banking oO 130 Miller Act Oo 315 Airplane Product C] 370 Other Fraud Sentence Habeas CI 720 Labor/Mgmt.
([] 450 Commerce/ICC (_) 140 Negotiable Instrument Liability (_] 371 Truth in Lending Corpus Relations
Rates/etc. [J 150 Recovery of [J 320 Assault, Libel & |] 380 Other Personal |] 530 General CJ 730 Labor/Mgmt.
(_] 460 Deportation Overpayment & Slander Property Damage C) 535 Death Penalty Reporting &
_] 470 Racketeer Influenced Enforcement of (J 330 Fed. Employers’ |[_} 385 Property Damage |[_] 540 Mandamus/ Disclosure Act
and Corrupt Judgment Liability Product Liability Other _] 740 Railway Labor Act
Organizations [J 151 Medicare Act C1 340 Marine BANKRUPTCY’ [7] 550 Civil Rights (C] 790 Other Labor
(_] 480 Consumer Credit [_] 152 Recovery of Defaulted |] 345 Marine Product (_] 22 Appeal 28 USC [J 555 Prison Condition Litigation
[1] 490 Cable/Sat TV Student Loan (Excl. Liability . 158 FORFEITURE? (J 791 Empl. Ret. Inc.
[] 810 Selective Service Veterans) LJ 350 Motor Vehicle —_|_) 423 Withdrawal 28 PENALTY Security Act
[] 850 Securities/Commodities/ LJ 153 Recovery of (J 355 Motor Vehicle USC 157 (_] 610 Agriculture PROPERTY RIGHTS:
Exchange Overpayment of Product Liability CIVIL RIGHTS * (_] 620 Other Food & J 820 Copyrights
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(_] 890 Other Statutory Actions LJ 190 Other Contract [J 362 Personal Injury- (443 Housing/Acco- Seizure of SOCIAL SECURITY |
(_] 891 Agricultural Act [71 195 Contract Product Med Malpractice mmodations Property 21 USC |] 61 HIA(1395f)
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3 Environmental Matters : REAL PROPERTY 7 a 368 Asbestos Personal Disabilities- [J 640 R.R.& Truck 405
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nation Under Equal _] 240 Torts to Land Oo 462 Naturalization Other _] 690 Other O 870 Taxes (U.S. Plaintiff
Access to Justice (_] 245 Tort Product Liability Application CJ 440 Other Civil or Defendant)
(J 950 Constitutionality of State|] 290 All Other Real Property C463 Habeas Corpus- Rights (_] 871 IRS-Third Party 26
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CV-71 (05/08) CIVIL COVER SHEET Page | of 2

 

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www.FormsWorkflow.com

 

 
. Case 2:11-cP NER aa EER Oe ere eae ae Tee yee ESBS Bage ID #:73

VIII(a). IDENTICAL CASES: Has this action been previously filed in this court and dismissed, remanded or closed? [<j No [[] Yes

If yes, list case number(s):

 

VIII(b). RELATED CASES: Have any cases been previously filed in this court that are related to the present case? EX] No (1) Yes

If yes, list case number(s):

 

Civil cases are deemed related if a previously filed case and the present case:

(Check atl boxes that apply) I A. Arise from the same or closely related transactions, happenings, or events, or
(11 B. Call for determination of the same or substantially related or similar questions of law and fact; or
(IC. For other reasons would entail substantial duplication of labor if heard by different judges; or
(11D. Involve the same patent, trademark or copyright, and one of the factors identified above in a, b or ¢ also is present.

 

1X. VENUE: (When completing the following information, use an additional sheet if necessary.)

(a) List the County in this District; California County outside of this District, State if other than California; or Foreign Country, in which EACH named plaintiff resides.
(1 Check here if the government, its agencies or employees is a named plaintiff. If this box is checked, go to item (b).

 

County in this District:*

California County outside of this District; State, if other than California, or Foreign Country

 

 

Los Angeles County, California; Orange County, California

Manhatten County, New York; San Diego County, California.

 

(b) List the County in this District; California County outside of this District, State if other than California; or Foreign Country, in which EACH named defendant resides.

 

[1] Check here if the government, its agencies or employees is a named defendant. If this box is checked, go to item (c).

' County in this District:*

California County outside of this District; State, if other than California, or Foreign Country

 

Los Angeles County, California

 

 

(c) List the County in this District; California County outside of this District; State if other than California; or Foreign Country, in which EACH claim arose.
Note: In land condemnation cases, use the location of the tract of land involved.

 

County in this District: *

California County outside of this District, State, if other than California; or Foreign Country

 

 

Los Angeles County, California

 

 

* Los Angeles, Orange, San Bernardino, Riverside, Ventura, Santa Barbara, or San Luis Obispo Counties
Note: In land condemnation cases, use the location of the tract of land involved

X. SIGNATURE OF ATTORNEY (OR PRO PER):

Ce LRT pate 4/45/01
Sarah Bl André

Notice to Counsel/Parties: The CV-71 (JS-44) Civil Cover Sheet and the information contained herein neither replace nor supplement the filing and service of pleadings
or other papers as required by law. This form, approved by the Judicial Conference of the United States in September 1974, is required pursuant to Local Rule 3 -I is not filed
but is used by the Clerk of the Court for the purpose of statistics, venue and initiating the civil docket sheet. (For more detailed instructions, see separate instructions sheet.)

 

Key to Statistical codes relating to Social Security Cases:

Nature of Suit Code

861

862

863

863

864

865

Abbreviation

HIA

BL

DIWC

DIWW

SSID

RSI

Substantive Statement of Cause of Action

All claims for health insurance benefits (Medicare) under Title 18, Part A, of the Social Security Act, as amended.
Also, include claims by hospitals, skilled nursing facilities, etc., for certification as providers of services under the
program. (42 U.S.C. 1935FF(b))

All claims for “Black Lung" benefits under Title 4, Part B, of the Federal Coal Mine Health and Safety Act of 1969.

(30 U.S.C. 923)

All claims filed by insured workers for disability insurance benefits under Title 2 of the Social Security Act, as
amended; plus all claims filed for child's insurance benefits based on disability. (42 U.S.C. 405(g))

All claims filed for widows or widowers insurance benefits based on disability under Title 2 of the Social Security

Act, as amended.

(42 U.S.C. 405(g))

All claims for supplemental security income payments based upon disability filed under Title 16 of the Social Security

Act, as amended.

All claims for retirement (old age) and survivors benefits under Title 2 of the Social Security Act, as amended. (42

U.S.C. (g))

 

CV-71 (05/08)

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